                 Case 1-18-40321-nhl              Doc 13        Filed 01/31/18         Entered 02/01/18 00:19:49

                                               United States Bankruptcy Court
                                               Eastern District of New York
In re:                                                                                                     Case No. 18-40321-nhl
E & J Macon LLC                                                                                            Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0207-1                  User: frandazzo                    Page 1 of 2                          Date Rcvd: Jan 29, 2018
                                      Form ID: pdfall                    Total Noticed: 30


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jan 31, 2018.
db             +E & J Macon LLC,    878 East 28th Street,     Brooklyn, NY 11210-2925
9181160        +1049 Bergen Realty LLC,    878 East 28th Street,     Brooklyn, NY 11210-2925
9181161        +1596 Pacific Realty LLC,    878 East 28th Street,     Brooklyn, NY 11210-2925
9181162        +2836 W 19th USA LLC,    878 East 28th Street,     Brooklyn, NY 11210-2925
9181163        +401 Macon Realty LLC,    878 East 28th Street,     Brooklyn, NY 11210-2925
9186032        +Chase Bank,    25 S Main St.,    Freeport, NY 11520-3692
9181164        +Consolidated Edison Co.,    of New York, Inc.,     4 Irving Place,    New York, NY 10003-3502
9181165        +Environmental Control Brd,     66 John St,    New York, NY 10038-3724
9181166        +Ervin Johnson, Jr.,    878 East 28th Street,     Brooklyn, NY 11210-2925
9181167        +Harvey Greenberg,    232 Madison Avenue,     Rm 909,   New York, NY 10016-2938
9185146        +JPMorgan Chase Bank, N.A.,     Chase Records Center,    Mail Code LA4-5555,    700 Kansas Lane,
                 Monroe, LA 71203-4774
9181169        +John Clarke,    68 Herkimer Street,    Brooklyn, NY 11216-2741
9181172        +MPW Funding LLC,    360 Madison Avenue,    Suite 1902,    New York, NY 10017-7158
9181170        +Macon Funding Associates,     c/o Green Assets Inc.,    875 Mamaroneck Avenue,    Suite 401,
                 Mamaroneck, NY 10543-1986
9181171        +Mark J. Nussbaum, Esq.,,    as nominee,    225 Broadway,    39th Floor,    New York, NY 10007-3001
9181174        +NYC Building Department,    210 Joralmon St, 8th FL,     Attn: Ira Gluckman,
                 Brooklyn, NY 11201-3745
9181175         NYC Department of Finance,     345 Adams Street, 3rd FL,    Attn: Legal Affairs Div.,
                 Brooklyn, NY 11201-3719
9181176        +NYC Department of Finance,     345 Adams Street, 3rd Flo,    Office of Legal Affairs,
                 Parking Violations),    Brooklyn, NY 11201-3719
9181177        +NYC Housing Preservation,     & Development,    100 Gold Street,   New York, NY 10038-1635
9181173        +Natalia Rollins,    c/o The Frankel Law Firm,     Attn: Michael Frankel,    275 Madison Ave, 6th FL,
                 New York, NY 10016-1144
9185599        +National Grid,    1 MetroTech Center,    Brooklyn, NY 11201-3850
9181183        +U.S. Attorney’s Office,    271-A Cadman Plaza East,     Eastern District of NY,
                 Attn: Bonni Perlin, Bankr,     Brooklyn, NY 11201-1835
9181184        +U.S. Dept. of Housing,    26 Federal Plaza, Room 35,     Office of Regional,    Counsel for NY/NJ,
                 New York, NY 10278-0004
9181185         US Env. Protection Agency,     290 Broadway, 17th Floor,    Region 2 - NY/Caribbean,
                 Attn: Douglas Fischer,    New York, NY 10007-1866
9181186        +USA Quick Solutions Corp,     357 East Fulton Street,    Long Beach, NY 11561-2326

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
9181168         E-mail/Text: cio.bncmail@irs.gov Jan 29 2018 18:31:07      Internal Revenue Service,
                 P.O. Box 7346,   Philadelphia, PA 19101-7346
9181179        +E-mail/Text: nys.dtf.bncnotice@tax.ny.gov Jan 29 2018 18:31:32       NYS Dept. Of Taxation,
                 Bankruptcy Unit - TCD,    Building 8, Room 455,   W.A. Harriman St. Campus,
                 Albany, NY 12227-0001
9181180        +E-mail/Text: nys.dtf.bncnotice@tax.ny.gov Jan 29 2018 18:31:32       NYS Dept. Of Taxation &,
                 Finance,   Bankruptcy Unit,    P.O. Box 5300,   Albany, NY 12205-0300
9181181        +E-mail/Text: ustpregion02.br.ecf@usdoj.gov Jan 29 2018 18:31:10       Office of the US Trustee,
                 U.S. Federal Office Bldg,    201 Varick Street,   Suite 1006,    New York, NY 10014-9449
9181182        +E-mail/Text: nyrobankruptcy@sec.gov Jan 29 2018 18:31:13       Securities & Exchange Com,
                 200 Vesey Street, STE 400,    New York Regional Office,   Attn: Andrew M. Calamari,
                 New York, NY 10281-8004
                                                                                              TOTAL: 5

              ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
9181178*          +NYC Housing Preservation,   & Development,   100 Gold Street,                     New York, NY 10038-1635
                                                                                                                 TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jan 31, 2018                                            Signature: /s/Joseph Speetjens
             Case 1-18-40321-nhl       Doc 13     Filed 01/31/18     Entered 02/01/18 00:19:49




District/off: 0207-1         User: frandazzo             Page 2 of 2                   Date Rcvd: Jan 29, 2018
                             Form ID: pdfall             Total Noticed: 30

_


                             CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on January 29, 2018 at the address(es) listed below:
              Jay Teitelbaum    on behalf of Debtor   E & J Macon LLC jteitelbaum@tblawllp.com,
               dcampagne@tblawllp.com;teitelbaumjr72633@notify.bestcase.com
              Office of the United States Trustee   USTPRegion02.BR.ECF@usdoj.gov
                                                                                            TOTAL: 2
Case 1-18-40321-nhl            Doc 13       Filed 01/31/18   Entered 02/01/18 00:19:49




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------x
In re: E & J Macon LLC                                         Chapter 11

                                                               Case No. 18-40321-NHL

                                    Debtor.
---------------------------------------------------------x

    ORDER SCHEDULING INITIAL CASE MANAGEMENT CONFERENCE

          E & J Macon LLC (the "Debtor") having filed a petition for reorganization under
Chapter 11 of the Bankruptcy Code on January 19, 2018, and the Court having determined
that a Case Management Conference will aid in the efficient conduct and proper
administration of the case, it is hereby
          ORDERED, pursuant to 11 U.S.C. § 105(d), that a Case Management Conference
will be held by the undersigned Bankruptcy Judge in Courtroom 3577, 271-C Cadman
Plaza East, Brooklyn, New York 11201 on February 15, 2018 at 10:30 a.m. , and it is
further
          ORDERED, that the Debtor, or an authorized representative of the Debtor, and
counsel for the Debtor, shall be present at the Case Management Conference and shall be
prepared to address the following matters:
          1.  the nature of the Debtor’s business and the reason for the Chapter 11 filing;
          2.  the Debtor’s financial condition, including post-petition operations and
              revenue;
          3.  debtor-in-possession financing;
          4.  the use of cash collateral;
          5.  any significant motions which the Debtor anticipates bringing before the
              Court including, but not limited to, sale motions;
          6.  matters relating to the retention of professionals (including any brokers or
              appraisers);
          7.  the status of any litigation involving the Debtor;
          8.  the status of the Debtor’s insurance;
          9.  deadlines for the filing of claims and a plan and disclosure statement;
          10. the use of alternative dispute resolution, if appropriate;
          11. if this is a single asset real estate case, whether the Debtor intends to file a
              plan within the time allotted pursuant to 11 U.S.C. § 362(d)(3) and whether
              the Debtor intends to commence adequate protection payments;
          12. if this is a small business case, whether the Debtor anticipates being able to
              satisfy the deadlines provided by 11 U.S.C. § 1121(e);
Case 1-18-40321-nhl          Doc 13     Filed 01/31/18      Entered 02/01/18 00:19:49




           13.   if this is an individual Chapter 11 case, whether the Debtor anticipates
                 satisfying the Bankruptcy Code requirements that apply to such cases;
           14.   the scheduling of additional Case Management Conferences; and
           15.   any other case administrative matters, and it is further

           ORDERED, that the Debtor shall file with the Court, and serve upon the Office of
 the United States Trustee, monthly operating reports during the pendency of this case; that
 the operating reports shall be in the form prescribed by the Office of the United States
 Trustee's Operating Guidelines and Reporting Requirements for Debtors-in-Possession and
 Trustees for cases pending in this District; and that the operating reports shall be served
 and filed on or before the 20th day of the month following the reporting period, and it is
 further
           ORDERED, that unexcused failure to attend any Case Management Conference or
 to file timely monthly operating reports in compliance with this Order may constitute cause
 for conversion of this case to Chapter 7 or dismissal of this case pursuant to 11 U.S.C. §
 1112, and it is further
           ORDERED, that the Clerk of Court give notice of this Order to the Debtor, its
 counsel, the United States Trustee and all creditors and parties in interest.




                                                             ____________________________
Dated: January 29, 2018                                           Nancy Hershey Lord
       Brooklyn, New York                                    United States Bankruptcy Judge
